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                                                            February 24, 2022

Via ECF and E-Mail

Hon. Martin Glenn
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, New York 10004

                             Re:         78-80 St. Marks Place, LLC
                                         Case No. 21-12139 (MG)

Dear Judge Glenn:

        This firm is counsel to St. Mark’s Mixed Use LLC (“Lender”), the Debtor’s secured
lender in the above referenced case.

        We write concerning the Debtor’s motion for debtor-in-possession financing (the
“Financing Motion”) and the Debtor’s motion for the use of cash collateral (the “Cash
Collateral Motion”; and together with the Financing Motion, collectively the “Motions”)
currently returnable on March 2, 2022. Specifically, it has come to our attention that the clarity
of certain exhibits to Lender’s Omnibus Objection to the Motions and the declarations filed
therewith was impacted in our effort to convert PDF documents to PDF/A and to reduce the file
size of such exhibits so that PACER would not “bounce” such documents during e-filing for
being in the wrong format or for being too large in size. The exhibits at issue are four appraisals.
Attached as Exhibit 1 to the Declaration of Joel Leitner (ECF No. 25-1) is an appraisal
performed by Leitner Bergman containing 177 pages; attached as Exhibit 1 to the Declaration of
Wendy Hwang (ECF No. 27-1) is an appraisal performed by Newmark Knight Frank containing
181 pages; and attached as Exhibits 8 and 9 to the Omnibus Objection (ECF No. 24-8 and 24-9)
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are two appraisals by Ronald M. Gold (containing 340 and 355 pages, respectively).
Additionally, upon converting the Leitner Berman appraisal from PDF to a searchable PDF/A
format, the electronic signature of Adam Wolk, an associate appraiser, was apparently removed
and in its place was a grey box. We represent to the Court that the same Leitner Berman
appraisal was, in fact, signed by Adam Wolk when it was filed.

       After conferring with PACER and the Bankruptcy Court’s IT department, we are re-filing
the documents in PDF format, copies of which are attached hereto.

                                                   Respectfully yours,


                                                   /s/ Robert A. Abrams

Enclosures

cc:    Andrew Gottesman, Esq. (via ECF and email)
       Arthur Schwartz, Esq. (via ECF and email)
